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C. Jared Knight

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Rhonda Luginbyh!

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Attorneys for Centennial Bank

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
IN RE: §
§
Krisu Hospitality, LLC § CASE NO. 19-20347-1ij1 1
§
§
DEBTOR(S) §

NOTICE OF APPEARANCE AND REQUEST
FOR ALL NOTICES, PLANS AND DISCLOSURE STATEMENTS

Centennial Bank, creditor and party in interest, hereby enters its appearance in this case,
C, JARED KNIGHT, RHONDA LUGINBYHL and the law firm of BURDETT MORGAN
WILLIAMSON & BOYKIN, LLP (“BMWB”) enter their appearance as attorneys for
CREDITOR as directed by Federal Rule of Bankruptcy Procedure 9010(b). The name, office
address, telephone number, fax number and e-mail address for Mr. Knight , Mrs. Luginbyhl, and
BMWB follow:

C. Jared Knight

BURDETT MORGAN WILLIAMSON & BOYKIN, LLP
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CREDITOR hereby requests that copies of all notices required by the Federal Rules of
Bankruptcy Procedure to be given, including notice under Rule 2002(i), be given to it by service
upon the attorneys at the address or e-mail shown above.

CREDITOR pursuant to Federal Rule of Bankruptcy Procedure 3017(a) further requests
that copies of all documents, including claims, plans and disclosure statements filed hereby by
any party be served upon it and its attorneys at the address or e-mail indicated above.

Dated: \\ HA

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C. Jared Knight, State Bar No. 00794107
Rhonda Luginbyhl, State Bar No. 24074626
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CERTIFICATE OF SERVICE

The undersigned certifies that he has on the date shown below transmitted a true copy of
the foregoing document to the following parties in interest by electronic notification via the

Court’s electronic case filing system or by regular mail on the day of Mavan\\a0G NGlOn\\v0(, 2019:
Patrick A. Swindell US Trustee

Swindell Law Firm 1100 Commerce Street

106 SW 7 Room 976

Amarillo, TX 79101 Dallas, TX 75202

Debtor(s)’ Attorney

Krisu Hospitality, LLC
500 W. Harvester
Pampa, TX 79065
Debtor(s)

All parties that have requested notice
pursuant to N.D. Tex. L.B.R. 2002-1(j)

Woudle-Abe 0M

C, Jared Knight U
Rhonda Luginbyhl

 

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